           IN THE UNITED STATES DISTRICT COURT FOR THE
                   WESTERN DISTRICT OF MISSOURI
                        WESTERN DIVISION

KEITH L. CARNES,                    )
                                    )
             Petitioner,            )
                                    )
      v.                            )       No. 12-0416-CV-W-BP-P
                                    )       ECF
LARRY DENNEY,                       )
                                    )
             Respondent.            )

              NOTICE OF FILING EXHIBIT ATTACHMENTS

      WHEREFORE, Exhibits A through N, which is an attachment to

"Respondent's Response to Order to Show Cause Why a Writ of Habeas

Corpus Should Not Be Granted," is in paper form only and maintained in the

case file in the Clerk's Office.

                                            Respectfully submitted,

                                            CHRIS KOSTER
                                            Attorney General

                                            \s\ Terrence M. Messonnier
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CERTIFICATE OF SERVICE
I hereby certify that a true and correct
copy of the foregoing was electronically
filed by using the CM/ECF system.
I further certify that some of the
participants in the case are not CM/ECF
users. I have mailed the foregoing
document postage prepaid, this 18 day
of June, 2012, to:

Keith Carnes
Inmate Number 161267
Crossroads Correctional Center
1115 East Pence Road
Cameron, Missouri 64429


/s/ Terrence M. Messonnier
Terrence M. Messonnier
Assistant Attorney General




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